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                   IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION




UNITED STATES OF AMERICA                                                             PLAINTIFF

V.                                 NO. 4:05CR00305-031 SWW

FREDERICK ROBINSON                                                                   DEFENDANT



                                             ORDER

       Before the Court is the government’s motion to revoke defendant’s supervised release [doc

#1259] as to the above-named defendant. The defendant did not appear at the scheduled hearing on

September 5, 2013 and the Court directed that a warrant be issued. Due to information provided by

the U. S. Probation Office, the Court finds that the warrant should be recalled and a summons issued.

       IT IS SO ORDERED that the U. S. Marshal is directed to recall the warrant issued in this

matter. The Clerk is directed to issue a summons for a revocation hearing scheduled TUESDAY,

SEPTEMBER 17, 2013 AT 2:00 P.M. IN COURTROOM #389 to show cause why the supervised

release previously granted this defendant should not be revoked. and the United States Marshal is

directed to serve the summons in this matter upon defendant.

       IT IS SO ORDERED this 6th day of September 2013.



                                                      /s/Susan Webber Wright
                                                      UNITED STATES DISTRICT JUDGE
